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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF VIRGINIA
                               Big Stone Gap Division

 WILLIAM THORPE, et al.,                          )
                                                  )
         Plaintiffs,                              )
                                                  )
 v.                                               )       Case No. 2:20-cv-00007-JPJ-PMS
                                                  )
 VIRGINIA DEPARTMENT OF                           )
 CORRECTIONS, et al.,                             )
                                                  )
         Defendants.

              DEFENDANTS’ OPPOSITION TO PLAINTIFFS’ MOTION
            FOR EXPEDITED BRIEFING AND TELEPHONIC HEARING ON
                 PLAINTIFFS’ MOTION FOR PROTECTIVE ORDER

        Plaintiffs request relief for alleged violations of the First Amendment and the Religious

Land Use and Institutionalized Persons Act—claims that do not exist in this case—and seek to

deprive Defendants of a fair opportunity to oppose that request. Defendants respectfully request

that the Court deny Plaintiffs’ Motion for Expedited Briefing and Telephonic Hearing Schedule

on Their Motion for Protective Order, ECF No. 488 (“Mot. To Expedite”), and give Defendants a

fair opportunity to conduct the factual assessment and develop the legal arguments appropriate to

respond to Plaintiffs’ Motion for Protective Order, ECF No. 486 (“Mot. for PO”). Plaintiffs

provide no justification for depriving Defendants of that opportunity. Further, Plaintiffs’ ongoing

attempts to link to this lawsuit every event at Red Onion State Prison, including every Virginia

Department of Corrections (“VDOC”) policy at that facility, with which they take issue does not

constitute such justification.

        Local Rule 11(c)(1) provides an opposing party, unless otherwise directed by the Court, 14

days after service of a motion to file a responsive brief and supporting documents for a reason. By

the time a movant’s counsel files a motion, they may have been working on developing their
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factual allegations and legal arguments for weeks, or even months, before filing. Respondents do

not have the same luxury. Respondents’ counsel prepare their response based on the timing

dictated by the movant’s filing and the Court’s rules. Absent relief from the Court (which

Defendants are not seeking here), that timing applies regardless of the availability of respondent’s

counsel or of respondents themselves to set aside existing commitments to turn immediately to

assessing movant’s motion and developing a response. This Court’s 14-day schedule for filing a

response strikes an appropriate balance between addressing movant’s alleged issues and providing

respondent a fair opportunity to respond to them. Absent a compelling reason, this Court should

not deprive respondents of that opportunity.

       Plaintiffs fail to provide such a compelling reason. Instead, Plaintiffs provide a transparent

attempt to limit the time that Defendants’ counsel has to develop a full response to Plaintiffs’ Mot.

for PO. Plaintiffs’ stated basis for seeking expedited consideration is that “the harm that they are

experiencing is ongoing and significant.” Mot. To Expedite at 2. But Plaintiffs’ own declarant

establishes that the “Safety Agreement”—the VDOC policy with which Plaintiffs disagree and are

trying to shoehorn into this litigation rather than pursue a separate action to end—has been in place

since at least mid-January 2025. Declaration of Sidney Bowman, ECF No. 487-2, at ¶ 3. In other

words, despite the alleged “ongoing and significant harm,” caused by the policy, Plaintiffs took at

least two-and-one-half months to draft and file their motion. Now they assert that depriving

Defendants of seven of the fourteen days that Defendants have to file their response will make all

of the difference. Of course, the four (not three as they mistakenly assert) days that they propose

for their reply will have no effect on the alleged harm. If the seven days that Plaintiffs propose to

take from Defendants were so critical, Plaintiffs could have obtained that seven days by advising




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the Court that they waived their reply so the Mot. for PO could be heard sooner. But they were

unwilling to so disadvantage themselves, choosing instead to attempt to disadvantage Defendants.

       As for Plaintiffs’ attempts to blame Defendants for their delay, those attempts are without

merit. Plaintiffs’ counsel did not attempt to resolve the issue. Plaintiff’s counsel sent Defendants’

counsel a letter to forward on to a Defendant in this lawsuit that contained allegations and demands

unrelated to this lawsuit in any way. If given a fair opportunity to respond to Plaintiffs’ Mot. for

PO, Defendants will address why. Defendants’ counsel had not fully discussed the unrelated

matters with the client before Plaintiffs’ Mot. for PO was filed.

       For the reasons stated, this Court should deny at least that portion of Plaintiffs’ Motion to

Expedite that requires Defendants to file their response by April 3. Defendants take no position on

whether the time for Plaintiffs to file a reply should be shortened to three (or four) days.

March 31, 2025                                        Respectfully submitted,

                                                      /s/ Maya M. Eckstein

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                               CERTIFICATE OF SERVICE

       I hereby certify that on March 31, 2025 I electronically filed the foregoing with the Clerk

of the Court using the CM/ECF system, which will send a notification of such filing to all CM/ECF

participants.


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